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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


  In re ZETIA (EZETIMIBE) ANTITRUST
  LITIGATION


                                                   MDL No. 2:18-md-2836


  THIS DOCUMENT RELATES TO;
  All Direct Purchaser Actions


                                        ORDER


         This matter came before the court on August 8, 2019, for a

  telephone    conference on Direct Purchaser Plaintiffs' Motion to

  Compel Wilson Sonsini Goodrich & Rosati ("Wilson Sonsini")                      to

  Produce Subpoenaed Documents. (EOF No. 286). Participating in the

  call were counsel for the Direct Purchaser Plaintiffs ("DPPs"),

  Retailer Plaintiffs, and End Payer Plaintiffs; Defendants Merck

  and    Glenmark;   and    non-party    Wilson   Sonsini.      The    court   heard

  argument from counsel and issued oral rulings on the record. This

  Order now confims those rulings. After consideration of the

  parties' submissions, and for the reasons stated on the record,

  the    court now    GRANTS DPPs'      Motion    to   Compel    and    ORDERS   the

  following:

    1.     Wilson Sonsini shall produce documents from custodians

           Arthur Hoag and Dan Brown using the same search strings

           applied to document custodians in its initial response to

           DPPs'     subpoena.    Wilson    Sonsini     need     not     re-produce

           documents     which   it     already   produced      in     its   initial
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          response. Wilson Sonsini may also withhold such privileged

          documents as it identifies.


    2.    Wilson   Sonsini   shall   not     be   obligated     to   produce   a

          privilege log for all withheld documents. Wilson Sonsini

          shall provide a categorical summary of privileged material

          it withholds from the production dictated in this Order,

          in a manner similar to its initial response to DPPs'

          subpoena. The parties are free to arrange meet-and-confers

          regarding    ongoing     privilege        disputes.    Should   DPPs

          determine   that   a   privilege    log    identifying     individual

          documents is necessary, they may file such request with

          the court after conferring with Wilson Sonsini.

    3.    Wilson Sonsini shall produce to DPPs the 2010 Conflict

          Waiver document it executed with Glenmark.


    4.    Wilson Sonsini shall confer with Glenmark regarding the

          2007 Retainer Agreement between those parties. If Glenmark

          agrees to waive its privilege claim as to that document,

          Wilson Sonsini shall produce such to DPPs. If Glenmark

          objects to its production, then Glenmark and DPPs shall

          meet and confer regarding the objection and schedule a

          brief teleconference with the undersigned if necessary to

          resolve its disposition.
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    5.    All production pursuant to this Order shall be governed by

          and comply with the Discovery Confidentiality Order, (EOF

          No. 171).

 SO ORDERED.




                                       Douglas E.
                                       United States Magistrate Judge
                                    DOUGLAS E. MILLER
                                    UNITED STATES MAGISTRATE JUDGE


 August 9, 2019
